Case 1:20-cv-24523-AMC Document 420 Entered on FLSD Docket 02/01/2021 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                       Case No. 20-24523-CIV-CANNON/OTAZO-REYES

  GILEAD SCIENCES, INC., and
  GILEAD SCIENCES IRELAND UC,

         Plaintiffs,

  v.

  ALLIANCE MEDICAL CENTER, INC., et al.,

        Defendants.
  ______________________________________/

                                              ORDER

         THIS CAUSE came before the Court upon defense counsel David M. Trontz, Esq.

  (“Attorney Trontz”), and Donet, McMillan & Trontz, P.A.’s Unopposed Motion for Leave to

  Withdraw as Counsel of Record for Defendants Priority Health Medical Center, Inc. (“Priority

  Health”) and Nick J. Myrtil (“Myrtil”) (hereafter, “Motion to Withdraw) [D.E. 309]. Upon due

  consideration, it is hereby ORDERED and ADJUDGED as follows:

              The Motion to Withdraw [D.E. 309] is GRANTED. Attorney Trontz and Donet,

                 McMillan & Trontz, P.A. are permitted to withdraw as counsel of record for

                 Defendants Priority Health and Defendant Myrtil effective immediately.

              Defendant Priority Health shall have 20 days to have new counsel enter an

                 appearance. As a corporation, Defendant Priority Health is an artificial entity that

                 can only act though agents; it cannot appear pro se and must be represented by

                 counsel. See Palazzo v. Gulf Oil Corp., 764 F.2d 1381, 1385 (11th Cir. 1985).

              Defendant Myrtil shall have 20 days to have new counsel enter an appearance or

                 he will be deemed to be proceeding pro se.
Case 1:20-cv-24523-AMC Document 420 Entered on FLSD Docket 02/01/2021 Page 2 of 2




            Attorney Trontz shall provide a copy of this order to Defendant Priority Health

               and Defendant Myrtil.

        DONE AND ORDERED in Chambers at Miami, Florida, this 1st day of February, 2021.




                                           ___________________________________
                                           ALICIA M. OTAZO-REYES
                                           UNITED STATES MAGISTRATE JUDGE

  cc:   United States District Judge Aileen M. Cannon
        Counsel of Record




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